June 3, 2025

FILED

. Karen Hash -
1277 HCR 3138 N JUN 09 2025
Hillsboro, TX 76645 U.S. BANKRUPTCY. COURT
(512) 785-3715 BY__O)__DEPUTY

tkhash@hotmail.com

United States Bankruptcy Court
Western District of Texas

Waco Division

800 Franklin Ave #140

Waco, Tx 76701

Attention : Barry Knight
Clerk, U.S. Bankruptcy Court

RE: Bankruptcy Case No. 24-60670-mmp Chapter No. 7
Adversary Proceeding No. 25-06001-mmp OO
Order to Seek Default Judge Michael M. Parker
Brenda Keily Plaintiff v. Karen Lynn Hash Defendant

Mr. Knight

| am responding to a Order to Seek Default dated 05/27/2025 | received from
your office today. First my apologies for any tardiness on my part in responding
to any correspondence from your office concerning this matter. Everything was
forwarded to my bankruptcy attorney Tyler Sims but I was instructed no action on
my part was necessary since | was never served any papers by the Plaintiff.
However | was compelled to reach out to you because of the length of time this
has been ongoing. If you will allow me | would like to explain my position. The
original complaint filed by the Plaintiff was done on February 3, 2025 during the
last 4 hours of my Creditors waiting period of 60 days. The complaint was filed
incomplete and several items left blank including the dollar amount they were
claiming. Mainly because Plaintiff has never been awarded by any court that |
legally owe Plaintiff anything; | have never been charged with any crime and their
accusations are strictly their opinion and has no basis. Procedure also states
they have 7 days to serve me papers , to this date | have never been served
papers of any kind from the Plaintiff. Their deadline would have been February
11, 2025 which is more than 112 days ago which puts them in.violation . |
received an Order to Seek Default letter from your office dated March 12, 2025
giving a deadline of 30 days which would have been April 11, 2025. My attorney

told me no action was needed on my part and this was directed to the Plaintiff to
respond. No contact of any kind was ever made by the Plaintiff or her attorney
nor papers served. The third notification | received was the Alias Summons in
Adversary Proceeding date April 11, 2025 deadline being May 23, 2025 (35
days). Mr. Sims and attorney Frank Lyon contacted the bankruptcy clerk office
and confirmed | was never served papers and no contact was ever made by the
Plaintiff . in the meantime their last resort filing has turned into a very stressful
situation for me to return to normalcy . 1 can not purchase house insurance or
purchase a car to get to work everyday without discharge papers from my
bankruptcy to mention just a couple. | have received a threatening letter from the
Plaintiff and been accused of criminal actions in which they have no evidence or
investigation whatsoever. This has been nothing more than harassment fom the
Plaintiff and resulted in a financial ruin for me . | pray the court will dismiss this
complaint without prejudice and grant my Bankruptcy Discharge. | have
enclosed all of my contact information if there is anything further you might need.

Respectfully,

Kwon Syn Aas)

Karen Lynn Hash
